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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   :
                                           :
              v.                           :
                                           :         Case No.: 22-cr-00089 (ZMF)
NANCY BARRON,                                    :
                                           :
              Defendant.                   :

                      NOTICE OF SUBSTITUTION OF COUNSEL

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that the above-captioned matter is now assigned to

Assistant United States Attorney (AUSA) Adam Dreher. AUSA Adam Dreher will be

substituting for AUSA Justin Woodward

                                           Respectfully submitted,

                                           MATTHEW M. GRAVES
                                           UNITED STATES ATTORNEY
                                           D.C. Bar No. 481052


                             By:           /s/ Adam Dreher
                                           Adam Dreher
                                           Assistant United States Attorney
                                           Michigan Bar No. P79246
                                           United States Attorney’s Office
                                           District of Columbia
                                           Cell No. (202)-257-8014
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                                CERTIFICATE OF SERVICE

        On this 31st day of May 2023, a copy of the foregoing was served upon all parties
listed on the Electronic Case Filing (ECF) System.

                                           _ /s/ Adam Dreher
                                           ADAM DREHER
                                           Assistant United States Attorney
